                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CASE NO.: 3:09-CR-189-RJC-DCK

UNITED STATES OF AMERICA            )
                                    )
v.                                  )                         ORDER
                                    )
SILAS JUNIOR MOBLEY,                )
____________________________________)

       THIS MATTER IS BEFORE THE COURT upon the receipt of a letter, received April

4, 2010 (Document No. 42), from Silas Junior Mobley, to Chief United States District Judge Robert

Conrad (the “Letter”). In the Letter, Mr. Mobley, who is currently in custody, asks for a bond

review hearing.

       The record reflects that Mr. Mobley is represented by appointed counsel, Richard A. Culler.

It is the practice of this Court, when a defendant is represented by counsel, to rule on motions filed

only by counsel of record. Therefore, if Mr. Mobley has any matters he wishes this Court to

consider, they must be submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Mobley’s request for a bond review hearing

is DENIED without prejudice to his right to re-file the motion, if appropriate, through his attorney,

Mr. Culler.

       SO ORDERED.

                                                  Signed: April 6, 2010




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